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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

VICKI PIONTEK,                                     *

       Plaintiff,                                  *

vs.                                                *      Civl Action No.: 11-1545

ATM ENTERPRISES, INC.                              *
61 Jones Falls Terrace
Baltimore, Maryland 21209                          *

       Serve on:                                   *

       Ronald Gerstley                             *
       61 Jones Falls Terrace
       Baltimore, Maryland 21209                   *

       Defendant.                                  *

*      *       *      *      *      *      *       *      *      *      *      *        *

                    COMPLAINT AND DEMAND FOR JURY TRIAL

       Vicki Piontek (“Plaintiff”) hereby alleges as follows:

                                    INTRODUCTION

       1.      Plaintiff brings this action against ATM Enterprises, Inc., alleging a

violation of the Electronic Fund Transfer Act, 15 U.S.C. § 1693, et seq., and its

implementing regulations 12 C.F.R. § 205, et seq. (hereinafter referred to collectively as

the “EFTA”).

       2.      The Congressional findings and declaration of purpose regarding the EFTA

are as follows:



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               (a)    Rights and liabilities undefined

               The Congress finds that the use of electronic systems to transfer funds
               provides the potential for substantial benefits to consumers. However, due
               to the unique characteristics of such systems, the application of existing
               consumer protection legislation is unclear, leaving the rights and liabilities
               of consumers, financial institutions, and intermediaries in electronic fund
               transfers undefined.

               (b)    Purposes

               It is the purpose of this subchapter to provide a basic framework
               establishing the rights, liabilities, and responsibilities of participants in
               electronic fund transfer systems. The primary objective of this subchapter,
               however, is the provision of individual consumer rights.

15 U.S.C. § 1693.

       3.      Among other things, the EFTA imposes certain disclosure requirements

upon operators of automated teller machines (“ATMs”).

       4.      15 U.S.C. § 1693b(d)(3)(A) requires any ATM operator who imposes fees

on consumers in connection with electronic fund transfers to provide notice of the fact

that the fee is being imposed and the amount of the fee.1

       5.      15 U.S.C. § 1693(d)(3)(B) identifies the location where the required notice

must be posted as follows:

               (B)    Notice requirements

1      “Electronic fund transfer” is defined as “any transfer of funds, other than a
transaction originated by check, draft, or similar paper instrument, which is initiated
through an electronic terminal, telephonic instrument, or computer or magnetic tape so as
to order, instruct, or authorize a financial institution to debit or credit an account. Such
term includes, but is not limited to, point-of-sale transfers, automated teller machine
transactions, direct deposits or withdrawals of funds, and transfers initiated by
telephone . . . .” 15 U.S.C. § 1693a(6).

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                      (i)    On the machine

                      The notice required under clause (i) of subparagraph (A) with
               respect to any fee described in such subparagraph shall be posted in a
               prominent and conspicuous location on or at the automated teller machine
               at which the electronic fund transfer is initiated by the consumer.

                      (ii)   On the screen

                      The notice required under clauses (i) and (ii) of subparagraph (A)
               with respect to any fee described in such subparagraph shall appear on the
               screen of the automated teller machine, or on a paper notice issued from
               such machine, after the transaction is initiated and before the consumer is
               irrevocably committed to completing the transaction . . . .

       6.      The relevant implementing regulation, 12 C.F.R. § 205.16(c), reinforces

EFTA’s statutory posting requirement, mandating that the mandatory fee notice: 1) be

posted in a “prominent and conspicuous location” on or at the ATM machine; and, 2) “on

the screen of the automated teller machine or by providing it on paper, before the

consumer is committed to paying the fee.” 12 C.F.R. § 205.16(c)(1) and (2).

       7.      15 U.S.C. § 1693(d)(3)(C), and its implementing regulation, 12 C.F.R.

205.16(e), prohibit ATM operators from imposing a fee on a consumer unless EFTA’s

notice and posting requirements are followed by the ATM operator.

       8.      Specifically, 15 U.S.C. § 1693b(d)(3)(C) states, in relevant part:

               (C) Prohibition on fees not properly disclosed and explicitly assumed by
               the consumer.

                      No fee may be imposed by any automated teller machine operator in
                      connection with any electronic fund transfer initiated by a consumer
                      for which a notice is required under subparagraph (A), unless—



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                             (i)     The consumer receives such notice in accordance with
                                    subparagraph (B) . . . .

     9.      In connection with the 2006 amendments to the EFTA, the Board of

Governors of the Federal Reserve published its Final Rule and official staff interpretation

which, inter alia, explained the EFTA’s disclosure requirements as follows:

              The final rule clarifies the two-part disclosure scheme established in
              Section 904(d)(3)(B) of the EFTA. The first disclosure, on ATM
              signage posted on or at the ATM, allows consumers to identify
              quickly ATMs that generally charge a fee for use. This disclosure is
              not intended to provide a complete disclosure of the fees associated
              with the particular type of transaction the consumer seeks to
              conduct. Until a consumer uses his or her card at an ATM, the ATM
              operator does not know whether a surcharge will be imposed for that
              particular consumer. Rather it is the second, more specific
              disclosure, made either on the ATM screen or on an ATM receipt,
              that informs the consumer before he or she is committed to the
              transaction whether, in fact, a fee will be imposed for the transaction
              and the amount of the fee . . . .

71 F.R. 1638, 1656.

       10.    Finally, in order to be “properly disclosed,” the content of the notice

provided to consumers must be “clear and readily understandable.” To be clear and

readily understandable the content of the notice must be accurate, and any fee disclosed

in the notice must accurately reflect the fee that will be charged in the transaction.

       11.    Inaccuracies between the notice posted on the exterior of the ATM and the

on-screen notice constitute an improper fee notice and a violation of 15 U.S.C. §

1693b(d)(3). In situations whether there is a discrepancy in the fee amounts disclosed, the

notice is not clear and readily understandable as is required by 12 C.F.R. § 205.9 and 12



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C.F.R. § 205.16.

       12.    The EFTA imposes strict liability upon ATM operators that fail to comply

with its disclosure requirements. See, e.g., Flores v. Diamond Bank, 2008 WL 4861511,

*1 (N.D. Ill. Nov. 7, 2008)(Hibbler, J.)(“Among the protections afforded to consumers is

the right to receive notice from ATM operator of the existence and amount of any fee that

operator might impose on consumers for conducting transactions at the ATM. 15 U.S.C. §

1693b(d)(3). This requires the ATM operator to place notice both on the machine itself

and upon the ATM screen. 15 U.S.C. § 1693b(d)(3)(B)”). A plaintiff seeking statutory

damages under the EFTA need not prove that he or she has sustained any actual financial

loss, or that he or she relied upon the lack of mandatory disclosure as an inducement to

enter into the transaction. Burns v. First American Bank, 2006 WL 3754820, *6 (N.D. Ill.

Dec. 19 2006) (“Section 1693b(d)(3) prohibits an ATM operator from charging a fee

unless it provides notice of its fee on the machine and on the screen, period, no mention

of a necessary scienter.”)

                              JURISDICTION AND VENUE

       13.    This Court has federal question jurisdiction pursuant to 28 U.S.C. §1331

and 15 U.S.C. §1693, et seq.

       14.    Plaintiff’s claim asserted herein arose in this judicial district and Defendant

does substantial business in this judicial district.

       15.    Venue in this judicial district is proper under 28 U.S.C. §1391(b) and (c)

and 1400(a) in that this is the judicial district in which a substantial part of the acts and


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omissions giving rise to the claims occurred.

                                        PARTIES

        16.   Plaintiff Vicki Piontek is a consumer.

        17.   Defendant ATM Enterprises, Inc. is a domestic corporation established in

1997.

        18.   Defendant ATM Enterprises, Inc. is an automated teller machine operator,

as that term is defined by 12 C.F.R. § 205.16(a), which states: “Automated teller machine

operator means any person that operates an automated teller machine at which a

consumer initiates an electronic fund transfer or a balance inquiry and that does not hold

the account to or from which the transfer is made, or about which the inquiry is made.

               FACTS RELATED TO PLAINTIFFS’ TRANSACTION

        19.   On January 28, 2011, Plaintiff Vicki Piontek made an electronic fund

transfer at an ATM operated by Defendant at the “Harford Shell” gasoline station, located

at 9200 Harford Road, Parkville, Maryland. See Exhibit 1.

        20.   At the time of the above-described electronic transaction, Defendant was

acting as an “automated teller machine operator” that operated the automated teller

machine at which Plaintiff initiated an electronic fund transfer or a balance inquiry and

that did not hold the account to or from which the transfer was made.

        21.   Defendant charged Plaintiff an “Terminal Fee” of $2.25 in connection with

the above-described transaction. See Exhibit 1.

        22.   However, at the time of the above-described transaction, there was no


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notice posted “on or at” the ATM operated by Defendant apprising consumers that a fee

of $2.25 would be charged for use of the ATM. Rather, there was a “Fee Notice,” located

on or at the ATM that indicated that “ATM Express, Inc. charges a $2.00 fee to

cardholders for Financial Transactions.” See Exhibit 2.

       23.      Because Defendant did not post an accurate fee notice on or at the ATM, the

content of the notice provided to consumers was not “clear and readily understandable.”

       24.      Because Defendant did not post an accurate fee notice as required by EFTA

and its implementing regulations, it was not permitted to charge any usage fee to

Plaintiff.

                                          COUNT I

       25.      15 U.S.C. § 1693b(d)(3)(A) provides that as a prerequisite to imposition of

a usage fee upon a consumer for host transfer services, an automated teller machine

operator must provide notice to the consumer consistent with subparagraph (B) of that

statutory section.

       26.      Subparagraph (B) of 15 U.S.C. § 1693(d)(3) provides in relevant part:

                (B) Notice requirements

                      (iii)   On the machine

                The notice required under clause (i) of subparagraph (A) with respect to
                any fee described in such subparagraph shall be posted in a prominent and
                conspicuous location on or at the automated teller machine at which the
                electronic fund transfer is initiated by the consumer.

       27.      EFTA’s implementing regulations require that the content of the notice



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placed on or at the ATM machine must be clear and readily understandable and, as such,

requires that the content of the notice be accurate.

       28.      Subparagraph (c) of 15 U.S.C. § 1693b(d)(3) states, in relevant part:

                (C) Prohibition on fees not properly disclosed and explicitly assumed by
                the consumer.

                No fee may be imposed by any automated teller machine operator in
                connection with any electronic fund transfer initiated by a consumer for
                which a notice is required under subparagraph (A), unless—

                       (i)    The consumer receives such notice in accordance with
                              subparagraph (B) . . . .

       29.      EFTA’s statutory notice requirements are reinforced by the implementing

regulations set forth at 12 C.F.R. § 205.16.

       30.      Defendant violated the notice requirements of EFTA in connection with

providing host transfer services to Plaintiff.

       31.      Defendant was prohibited from imposing any usage fee or similar fee for

providing host transfer services because it failed to comply with EFTA’s notice

requirements.

       32.      15 U.S.C. § 1693m provides that a Defendant shall be liable to Plaintiff for

violations of 15 U.S.C. § 1693, et seq., in the amount of, inter alia, statutory damages to

be determined by the court, the costs of this action and reasonable attorneys’ fees.

       33.      On November 27, 2009, the Federal Deposit Insurance Corporation

(“FDIC”) issued Financial Institution Letter 66-2009 reiterating the fact that the EFTA

requires ATM operators to post ATM fee notices both (a) in a prominent and conspicuous


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location on or at the automated teller machine, and (b) on the screen or on paper before

the consumer is committed to paying a fee. The letter also noted that the FDIC had first

notified FDIC-supervised banks of these requirements in a Financial Institution Letter

dated March 23, 2001 (FIL-25-2001).

       34.     By way of this action, Plaintiff seeks the imposition of statutory damages,

costs of suit and attorneys’ fees.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for:

       1.      An award to Plaintiff of statutory damages of $1,000.00;

       2.      Payment of costs of suit; and,

       3.      Payment of reasonable attorneys’ fees pursuant to the statute.

                                      JURY DEMAND

       Plaintiff demands a trial by jury on all claims so triable.

Dated: June 8, 2011,                 Respectfully Submitted,



                                            /s/ E. David Hoskins
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